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        EXHIBIT 2
          Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 2 of 90 PageID# 122

         Office of the Attorney General -                                              Rights
          202 North Ninth Street · Richmond, VA 23219 · Office: (804) 225-2292 Fax: (804) 225-3294
                                                 Complaint Questionnaire

 The information requested on this form will help us to help you. The information submitted will determine
 whether your complaint will be investigated. Filing with this office does not preclude you from filing with
 other Federal or State Agencies. Please be specific in your responses and indicate the month, day, and
 year of the alleged discriminatory actions.

 1. Personal Information.

 Name: ________________________________________________________________________________
                 First                                      Middle                                  Last

 Street or Mailing Address: ________________________________________________________________

 City/County:_________________________                 State: _________      Zip Code: ___________________

 Home Number: (            ) ______ - _________              Work Number: (           ) _____ - ________

 Mobile/Cell Number: (           ) _____ - _______     E-mail Address: ________________________________

 Time to be contacted [Day(s) and Time(s)]:            ______________________________________________

 Date of Birth: ________/________/_________ Age: ________                    Sex:_________________________
                 Month          Day      Year

 Race/Ethnicity:         African American/Black        American Indian            Asian/Pacific Islander

                         Caucasian/White               Hispanic/Latinx            Other: _______________

 Person to contact if you cannot be reached:

 Street or Mailing Address:

 Telephone(s): (         ) ______ - ______ ; (   ) ______ - _______    Relationship to you: _________________

 2. I believe that I was discriminated against by a(n): (check any that apply)
     Employer                         Employment/Staffing Agency          Union           Real Estate Agent/Landlord
     Educational Institution          Place of Public Accommodation               Other: ______________________

 If an Employer, how many employees does the company employ at all of its locations? _________________

ATTENTION: This complaint must be filed with the                                  -- FOR OFFICIAL          USE ONLY –
within the time limits imposed by law. Answer all questions
completely, and please attach additional pages if needed to
complete your response. If you do not know the answer to a
question, please answer by stating “not known.” If a question is not
applicable, write “N/A.” When we receive this form, we will
review it to determine whether we or another agency has
jurisdiction and refer it appropriately.
           Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 3 of 90 PageID# 123

2.a. Organization contact information: If the organization is an employer, please provide the address where
                                                              and provide the address of the office to which you
reported.) If more than one employer is involved, please attach additional sheets.

 Name of Organization: ____________________________________________________________________

 Street or Mailing Address: _________________________________________________________________

 City: _________________________             State: __________      Zip Code: ________________

 Phone: ( ____ ) ____ - ________             Type of Business: _____________________________________

 Name of Owner/Manager/ Human Resources Director: __________________________________________

 Job location if different from the above address:________________________________________________



 3. What is the reason (basis) for your claim of discrimination? (Example: If you feel you were treated worse
    that someone else because of your race, check the box next to Race. If you feel you were treated worse for
    several reasons, you should check each box that applies. If you complained about discrimination,
    participated in someone else’s complaint, or filed a complaint or charge of discrimination and a negative
    action was threatened or taken by your employer, you should check the box next to Retaliation.

    Race          Color                  National Origin        Disability             Veteran Status

    Sex           Sexual Orientation     Gender Identity        Religion               Age

    Pregnancy             Childbirth or related medical condition               Genetic Information*

    Marital Status        Retaliation

 *If you checked Genetic Information, circle the type(s) of genetic information involved:
       i. Genetic testing   ii. Family medical history      iii. Genetic services (counseling, education, or testing).

 *How was the genetic information obtained? ____________________________________________________

 If you checked Color, National Origin, or Religion, please specify: __________________________________

 Other reason (basis) for discrimination (Explain): ________________________________________________

If your complaint involves employment, please answer the following questions:

What date were you hired?____/______/_____           What was your job title at hire?____________________

What was your job title at the time of the alleged discrimination?___________________________________

What was the date you quit or were discharged?_______/_________/20_____

Name and Title of your immediate supervisor?__________________________________________________
          Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 4 of 90 PageID# 124

4. What happened to you that you believe was discriminatory? (For example in employment,
denied promotion, terminated, etc.). Include the date of the alleged discrimination, a description of the
actions taken, the name and title of each person who you believe discriminated against you. Please be
specific and attach additional pages if needed. (Example: 01/01/2020 – Terminated by John Doe,
Production Supervisor)




5. What reason(s) (if any) was given for the action taken against you?




6. Describe any person who was in the same or similar situation as you and how they were treated. For
example, who else applied for the same job you did, had the same attendance record, or the same
performance. For each person identified, provide their name, race, sex age, national origin religion, or
disability if known and it relates to your claim of discrimination. Use additional sheets if necessary.

       _________________________________________________________________________________

       _________________________________________________________________________________

       _________________________________________________________________________________
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                             ATTACHMENT A
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 7 of 90 PageID# 127
       Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 8 of 90 PageID# 128




                                                                                     et
seq.
   Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 9 of 90 PageID# 129




                                   Chambers v. District of Columbia,
      Bostock v. Clayton County,




Cook v. CSX Transp. Corp.,




                                                                       See id.




         subordinates
      Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 10 of 90 PageID# 130




                                                      .




                                                                                     .




Id.




                                    shall be by memorandum
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 11 of 90 PageID# 131




                                                                                      See id.




            prior to initiating corrective or formal actions




     subordinates


                                   prior to initiating corrective or formal actions
   Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 12 of 90 PageID# 132




               prior to taking such action

provide the faculty member an informal opportunity to respond to the allegations




                                                                                        See id.




                                                                          Id.




                             Price Waterhouse v. Hopkins,

                                                                       Price Waterhouse v. Hopkins,
                                                   Hopkins
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 13 of 90 PageID# 133




                                                      See Price Waterhouse,
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 14 of 90 PageID# 134




   See id.




                            Wilson v. Dollar Gen. Corp
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 15 of 90 PageID# 135




                                  Meritor Savings Bank, FSB v. Vinson
  Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 16 of 90 PageID# 136




Comparators:

Dr. Evette Hyder-Davis




Jeffrey Osbourne
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 17 of 90 PageID# 137
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 18 of 90 PageID# 138
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 19 of 90 PageID# 139
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 20 of 90 PageID# 140
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 21 of 90 PageID# 141
         Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 22 of 90 PageID# 142

From: Credle, JoAnn O.
Sent: Friday, June 10, 2022 10:02 PM
To: Currie, Tammy H. <tcurrie@nvcc.edu>; Kauffman, Thomas D. <tkauffman@nvcc.edu>
Cc: Mucci, Diane M. <dmucci@nvcc.edu>; Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>; Kress, Anne <akress@nvcc.edu>
Subject: RE: CONFIDENTIAL: Employee Relations Matter

I was not going to show up tomorrow, I email Jorge and told him that I would not be at the event.
The Holy Spirit showed me that my enemy was after me and ask Charlotte to show the text when I asked for her help.

All I want is to get back work to do my job with my students. I hate have students hanging on receiving email that I am out and did
not finish working on a request.

Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
CG 218
8333 Little River Turnpike
Annandale, VA 22003
(703) 323-3205
mailto:jcredle@nvcc.edu



From: Currie, Tammy H. <tcurrie@nvcc.edu>
Sent: Friday, June 10, 2022 8:01 PM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Mucci, Diane M. <dmucci@nvcc.edu>
Subject: CONFIDENTIAL: Employee Relations Matter

Dr. Credle,
It has been brought to my attention that your behavior today has been perceived as threatening, unprofessional and overall
concerning. As a matter of precaution and in alignment with VCCS Policy 3.12.3, Suspension, I write to inform you that you are
hereby placed on paid leave effective immediately and continuing until today’s actions are fully investigated and a determination
has been made as to whether a policy violation has occurred.
Furthermore, as standard practice, access to NOVA systems will be restricted. Your NOVA email will remain active, and any
communications regarding this matter will be sent to your NOVA email account.
Violations of any policy are taken seriously and treated with the highest degree of confidentiality. Your cooperation in this matter is
appreciated.
Sincerely,
Tammy H. Currie
Director, Human Resources and EEO
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     Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 24 of 90 PageID# 144
From: Kaufmann, Daniel
Sent: Wednesday, June 15, 2022 6:51 PM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Currie, Tammy H. <tcurrie@nvcc.edu>; Mucci, Diane M. <dmucci@nvcc.edu>
Subject: Human Resources - Notice of Investigation

Good Evening Dr. Credle,

This is a follow-up to the email communication sent to you on Friday, June 10, 2022 from Tammy Currie, Director of
Human Resources, placing you on paid leave per VCCS Policy 3.12.3, Suspension.

Employee Relations has been assigned to conduct an investigation into the alleged unprofessional conduct you
demonstrated on June 10, 2022. As part of the investigation, you will be contacted to provide information related to
the complaint. While this concern is being investigated, you will remain on paid administrative leave; however, the
expectation is that you remain available to management during normal business hours (8:30am to 5:00pm,
weekdays).

During the administrative leave period, you are not permitted to be present on the Annandale Campus or on any
NOVA premises. Should you need to be on campus or NOVA property, you must contact Provost Diane Mucci or
Tammy Currie, Director of Human Resources, in advance to obtain permission.

To preserve the integrity of the process, we ask that you consider this a confidential matter.

Any questions you may have should be directed to myself at dkaufmann@nvcc.edu.

Sincerely,

Daniel Kaufmann
Associate Director, Employee Relations
3926 Pender Dr. Suite 150, Fairfax, VA 22030
Phone: 703.503.6233
HR Main: 703.323.3110/ Fax: 703.323.3155
dkaufmann@nvcc.edu/ www.nvcc.edu
employeerelations@nvcc.edu




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    Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 26 of 90 PageID# 146
      Kaufmann, Daniel <dkaufmann@nvcc.edu>
      Wednesday, July 6, 2022 2:50 PM
    Credle, JoAnn O. <jcredle@nvcc.edu>
    Currie, Tammy H. <tcurrie@nvcc.edu>; Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>
         RE: Human Resources - Investigation Meeting Request

Dr. Credle,

Employees do not have a right to have an attorney present during an HR meeting. The meeting at 4:30pm today is
between HR and yourself. The meeting will not move forward if a third party is present. The purpose of this meeting
is for you to provide HR with a response to allegations regarding your conduct on June 10, 2022. You are being
directed to participate. If you do not participate in the meeting, HR will move forward with a recommendation which
would reflect your lack of participation in this process.

Per VCCS Policy 3.12.3, Suspension, your suspension with pay ends on Friday July 8th, and you will be expected to
return to work on Monday July 11, 2022.

Sincerely,


Daniel Kaufmann




      Credle, JoAnn O. <jcredle@nvcc.edu>
      Wednesday, July 6, 2022 12:34 PM
   Stoneburner, Hannah D. <hstoneburner@nvcc.edu>
   Currie, Tammy H. <tcurrie@nvcc.edu>; Kaufmann, Daniel <dkaufmann@nvcc.edu>; Calobrisi, Charlotte M.
<ccalobrisi@nvcc.edu>
          RE: Human Resources - Investigation Meeting Request

As I stated earlier, I have not had success with HR, so I am requesting based on my rights to have my lawyer.

Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
CG 218
8333 Little River Turnpike
Annandale, VA 22003
(703) 323-3205
mailto:jcredle@nvcc.edu




                                                        1
    Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 27 of 90 PageID# 147
      Stoneburner, Hannah D. <hstoneburner@nvcc.edu>
      Wednesday, July 6, 2022 11:50 AM
   Credle, JoAnn O. <jcredle@nvcc.edu>
   Currie, Tammy H. <tcurrie@nvcc.edu>; Kaufmann, Daniel <dkaufmann@nvcc.edu>; Calobrisi, Charlotte M.
<ccalobrisi@nvcc.edu>
         RE: Human Resources - Investigation Meeting Request

Hello Ms. Credle,

I want to acknowledge your email. As Dan stated this is an employee relations meeting and it is not appropriate for
attorneys or other third parties to be present.

Sincerely,
Hannah



Office of System Counsel
Northern Virginia Community College
4001 Wakefield Chapel Road
Annandale, VA 22003
Phone: (703) 503-6382
hstoneburner@nvcc.edu
www.nvcc.edu




      Credle, JoAnn O. <jcredle@nvcc.edu>
     Tuesday, July 5, 2022 6:13 PM
    Kaufmann, Daniel <dkaufmann@nvcc.edu>; Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>
    Currie, Tammy H. <tcurrie@nvcc.edu>; Stoneburner, Hannah D. <hstoneburner@nvcc.edu>
         RE: Human Resources - Investigation Meeting Request

Ms. Stone Burner:

I am asking to my lawyer to attend my meeting because- I have a trust issue with Mr. Kauffman and Ms. Currie.

Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
CG 218
8333 Little River Turnpike
Annandale, VA 22003
(703) 323-3205
mailto:jcredle@nvcc.edu



       Kaufmann, Daniel <dkaufmann@nvcc.edu>
      Tuesday, July 5, 2022 5:37 PM

                                                         2
    Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 28 of 90 PageID# 148
    Credle, JoAnn O. <jcredle@nvcc.edu>
    Currie, Tammy H. <tcurrie@nvcc.edu>
         RE: Human Resources - Investigation Meeting Request

Good Evening Dr. Credle,

It is not NOVA’s practice to allow an employee advocate or representative to be present at an investigatory meeting.
An investigatory meeting is not adversarial. The purpose is fact finding and to provide you with an opportunity to
respond to allegations and share your side of the story.

Please have your counsel reach out to VCCS counsel, Hannah Stoneburner at hstoneburner@nvcc.edu if they
have questions regarding this process.


Thank you,




       Credle, JoAnn O. <jcredle@nvcc.edu>
      Tuesday, July 5, 2022 3:18 PM
    Kaufmann, Daniel <dkaufmann@nvcc.edu>
    Currie, Tammy H. <tcurrie@nvcc.edu>
         RE: Human Resources - Investigation Meeting Request

I am represent by the Spriggle Law Firm and my lawyer would like to set up the meeting for tomorrow at 4:30. I
would like for it to be a zoom meeting. Can you send me a link and I can forward it to the lawyer.

Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
CG 218
8333 Little River Turnpike
Annandale, VA 22003
(703) 323-3205
mailto:jcredle@nvcc.edu



       Kaufmann, Daniel <dkaufmann@nvcc.edu>
      Friday, July 1, 2022 10:19 AM
    Credle, JoAnn O. <jcredle@nvcc.edu>
    Currie, Tammy H. <tcurrie@nvcc.edu>
         Human Resources - Investigation Meeting Request
              High
                                                         3
    Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 29 of 90 PageID# 149
Good Morning Dr. Credle,

I would like to schedule a mandatory confidential meeting with you to discuss your conduct from June 10, 2022.

Please confirm your availability on either
                         Once confirmed we will send a meeting invite with the date, time and location of the
meeting.

These meetings are confidential. During the meeting we will discuss or answer any questions you may have
regarding this request. No preparation for this meeting is required.

As a general reminder, retaliation against any person who reports a situation or who is involved in a grievance or
complaint, or a follow-up investigation is prohibited and will not be tolerated. Acts of retaliation should be reported to
HR immediately and will be addressed in accordance with state and federal law.

We look forward to speaking with you.

Thank you,




                                                            4
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Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 31 of 90 PageID# 151
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 32 of 90 PageID# 152
         Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 33 of 90 PageID# 153
From: Kress, Anne <akress@nvcc.edu>
Sent: Wednesday, May 4, 2022 10:57 AM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Cc: Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>; Gilmore, Herbertia <hgilmore@nvcc.edu>
Subject: Re: complaint

Dear Joann,

I am sorry that your interactions with Elizabeth Garibay and Ellen Fancher-Ruiz have not been positive. I encourage you to make use
of NOVA’s policies for bringing forward such concerns if you feel they rise to the level of violating NOVA or VCCS policy. HR stands
ready to assist.

Based on your allegation of improper practice during the search for the Annandale Campus and Community Outreach Coordinator, I
have asked AVP Calobrisi to review that search process.

Sincerely,

Anne


Anne M. Kress, PhD
President
she/her/hers

Brault Building
4001 Wakefield Chapel Road
Annandale, VA 22003
Office: 703.323.3101


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the original message. Virus scanning is recommended on all email attachments.




From: Credle, JoAnn O. <jcredle@nvcc.edu>
Date: Monday, May 2, 2022 at 11:49 AM
To: Kress, Anne <akress@nvcc.edu>
Cc: Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>, Gilmore, Herbertia <hgilmore@nvcc.edu>
Subject: complaint

Dr. Kress:

I would like to talk to you about Ellen Fancher- Ruiz, she just hired another bully- Elisabeth Garibay. Ms. Garibay is the Student Life
Coordinator- at the time she was acting, she would not give me a receipt for the money I was turning into her office and the major
issue she told my BSA President that she could not help them, because I told her that she was taking over the club. Even if it was
true, she should have never shared the information with the student. the second concern and I had the student share his concern
with Ellen, how she had an attitude with him. Ellen asked the student if everything is okay- yes, he was going to say, I can handle it.


Ellen is very manipulative and she has her staff to do her “dirt”. Before Dr. Hilbert left, Mathew McCall was complaining about Nigel
Word getting the student life job, so Ellen talked to Dr. Hilbert they did interview, but he was not the best candidate. Below is the
email that Dr. Hilbert sent out to justify his qualification (this no Bob Hull).
         Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 34 of 90 PageID# 154
Dear NOVA Annandale,

I am pleased to announce that our new Annandale Campus and Community Outreach Coordinator is Matthew “Tank” McCarl.

Tank has worked for NOVA the last 15 years in the Offices of Student Life at the Annandale and Woodbridge campuses, and has
worked closely with faculty and staff across campuses to develop meaningful programs and supports for students and create
relationship-building opportunities for the college community in general. Tank is known for his good work with student
ambassadors and other teams on team-building. He has served on the state-wide planning team for the VCCS Student Leadership
Conference, and was responsible for creating a Leadership Education and Development (LEAD) program for emerging student
leaders, as well as a community service-learning program that opened doors for students to participate in and learn about their
community in a meaningful way.
Tank has been involved in volunteer service with multiple community organizations, including Autism Speaks, The Wayne
Foundation (an anti-human trafficking organization), and The Fairfax County Child ID Program. He holds a B.A. in History from
Catawba College and M.S. in Sport Studies from High Point University.

Please welcome Tank to his new role!

Pam


Yet, I complained and I am “ghosted”

I guess Annandale still see ask one of the Plantation Workers

ATTENTION: This email originated from outside of Northern Virginia Community College. Do not click links or open attachments
unless you recognize the sender and know the content is safe.




Joann Credle
Joann Credle, Ed.D., NCC, LPC
Coordinator of Specialized Programs
Northern Virginia Community College
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8333 Little River Turnpike
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mailto:jcredle@nvcc.edu
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                  DEPARTMENT OF HUMAN RESOURCE MANAGEMENT

                    POLICY 2.35 CIVILITY IN THE WORKPLACE



APPLICATION:




PURPOSE:




POLICY SUMMARY:




AUTHORITY & INTERPRETATION:




RELATED POLICIES:
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 38 of 90 PageID# 158




POLICY HISTORY:
EFFECTIVE DATE    DESCRIPTION
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 39 of 90 PageID# 159




                DEPARTMENT OF HUMAN RESOURCE MANAGEMENT

                 POLICY 2.35 CIVILITY IN THE WORKPLACE

                      ADMINISTRATIVE PROCEDURES



PROCEDURES

                             Prohibited Conduct




                            Complaint Procedures
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Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 41 of 90 PageID# 161



                              Policy Violations




                           Agency Responsibilities
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 42 of 90 PageID# 162




           Department of Human Resource Management Responsibilities




GLOSSARY
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                  Full-time, Quasi Full-time, and Part-time non-probationary classified
employees.




It is the policy of the Commonwealth to promote the well-being of its employees by maintaining
high standards of work performance and professional conduct with an overall emphasis on
diversity, equity and inclusion that promotes equitable treatment of all employees.


This policy sets forth the Commonwealth’s Standards of Conduct and the disciplinary process
that agencies must utilize to address unacceptable behavior, conduct, and related employment
problems in the workplace or outside the workplace when conduct impacts an employee’s ability
to do their job and/or influences the agency’s overall effectiveness.


Title 2.2 of the Code of Virginia

The Director of the Department of Human Resource Management is responsible for official
interpretation of this policy, in accordance with §2.2-1201 of the Code of Virginia. The
Department of Human Resource Management reserves the right to revise or eliminate this
policy.


All DHRM issued policies
Related Agency policies



 04-16-08             Policy published.
 06-01-11             Policy revised.
 01-10-12             Policy corrected to note that campus police departments of any public institution of
                      higher education of the Commonwealth where such department, bureau or force
                      has ten or more law-enforcement officers also have access to the procedural
                      guidelines of Va. Code § 9.1-500 – 507 in cases of investigation of work-related
                      matters that could lead to the dismissal, demotion, suspension or transfer for
                      punitive reasons of a law-enforcement officer.
 03-07-22             Policy reformatted and revised. Addition of Policy Guidance Documents.




                                                                                                             Page 1
Case 3:24-cv-00233-DJN Document 1-2 Filed 03/29/24 Page 47 of 90 PageID# 167



                                     Shortcuts to Sections

General Principles

Employee Standards of Conduct

Corrective and Disciplinary Action

Due Process

Pre-disciplinary Leave With or Without Pay

Disciplinary Suspension

Removal Due to Circumstances which Prevent Employees from Performing their Jobs

Use of Grievance Procedure

Records Management

Glossary

                                      General Principles

   General Provisions                                    Application
 Guidelines                    The intent of this policy and its procedures is to help
                               employees become fully contributing members of the
                               organization. This policy enables agencies to administer
                               corrective actions or discipline to improve performance or
                               conduct or terminate employees whose conduct and/or
                               performance does not improve.
                               Agencies are encouraged to follow a course of progressive and
                               situationally appropriate discipline that objectively and
                               consistently addresses employee behavior, conduct, or
                               performance that is incompatible with the state’s Standards of
                               Conduct, agency expectations for employees, and/or related
                               agency policies.
                                   o NOTE: Non-probationary law enforcement officers
                                       employed by the Department of State Police, the
                                       Virginia Marine Resources Commission, the
                                       Department of Wildlife Resources, the Department of
                                       Conservation and Recreation, the Department of Motor
                                       Vehicles, the Department of Corrections and the
                                       campus police department of any public institution of
                                       higher education of the Commonwealth where such
                                       department, bureau or force has ten or more law-
                                       enforcement officers also have access to the
                                       procedural guidelines of the Code of Virginia § 9.1-500
                                                                                        Page 2
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  General Provisions                               Application
                                – 507 and § 9.1-508 – 512 respectively in cases of
                                investigation of work-related matters that could lead to
                                the dismissal, demotion, suspension or transfer for
                                punitive reasons of a law enforcement officer.
                        Corrective or disciplinary actions must be administered through
                        an objective process initiated as promptly as feasible.
                        There may be circumstances when an employee’s conduct
                        requires immediate disciplinary action without employing
                        progressive discipline. If the misconduct and/or unacceptable
                        performance is of an especially serious nature, a first offense
                        may warrant significant discipline, including termination.
                        Agencies must provide notice of intent and give the employee
                        an opportunity to respond. Then the agency must document
                        the nature of the offense and the reason for taking disciplinary
                        measures via a Written Notice.
                        Management should apply corrective or disciplinary actions
                        consistently and in an objective and equitable manner, while
                        taking into consideration the specific circumstances of each
                        individual case. Prior to taking such action, management must
                        consider the following:

                           o   Whether the corrective or disciplinary action is
                               consistent with state and agency standards of conduct.
                           o   The nature, severity, and consequences of the offense.
                           o   Whether the offense constitutes a violation of a policy,
                               procedure, rule, or law.
                           o   Previous counseling, whether verbal or written, that
                               addressed the same or similar misconduct or
                               performance.
                           o   Previous disciplinary actions that addressed the same
                               or similar misconduct or performance.
                           o   Whether the offense relates to the employee’s job
                               duties and the employee’s ability to perform
                               satisfactorily.
                           o   How issues with similarly situated employees have
                               been addressed.
                           o   Mitigating factors that would compel a reduction in the
                               disciplinary action to promote the interests of fairness,
                               equity and objectivity.
                           o   Whether the corrective or disciplinary action is
                               appropriate for a specific offense.

                           Before the need for, or in addition to corrective counseling
                           or disciplinary action, management may refer employees to
                                                                                   Page 3
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  General Provisions                                    Application
                                  the Employee Assistance Program (EAP) or other
                                  professional assistance program as appropriate to
                                  encourage employees to address their needs in support of
                                  work performance or conduct improvement. Referrals to
                                  the EAP or comparable program shall not be considered a
                                  substitute for any disciplinary action imposed for the
                                  commission of an offense.

                                  NOTE: Mandated referrals to the EAP or comparable
                                  program may be required depending upon the nature of the
                                  behavior or misconduct. Agencies are advised to consult
                                  with their agency’s Assistant Attorney General prior to
                                  mandating participation in such programs.


                             Employee Standards of Conduct

   General Provisions                                   Application
Expectations of Conduct   Agencies have the authority to supplement the list below as
for Employees             needed in a manner consistent with the needs of the organization
                          and intent of this policy. The following list is not all-inclusive but is
                          intended to illustrate the minimum expectations for acceptable
                          workplace conduct and performance.

                              Report to work as scheduled and seek approval from the
                              supervisor in advance for any changes to the established work
                              schedule, including the use of leave and late or early arrivals
                              and departures.
                              Perform assigned duties and responsibilities with the highest
                              degree of public trust.
                              Devote full effort to job responsibilities during work hours.
                              Maintain the qualifications, certification, licensure, and/or
                              training requirements identified for their positions.
                              Demonstrate respect for the agency and toward agency
                              coworkers, supervisors, managers, subordinates, residential
                              clients, students, and customers.
                              Use state equipment, time, and resources judiciously and as
                              authorized.
                              Support efforts that ensure a safe and healthy work
                              environment.
                              Utilize leave and related employee benefits in the manner for
                              which they are intended.
                              Resolve work-related issues and disputes in a professional
                              manner and through established business processes.
                              Meet or exceed established job performance expectations.

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  General Provisions                                Application
                          Make work-related decisions and/or take actions that are in the
                          best interest of the agency.
                          Comply with the letter and spirit of all state and agency policies
                          and procedures, the Conflict of Interest Act, and
                          Commonwealth laws and regulations.
                          Report circumstances or concerns that may affect satisfactory
                          work performance to management, including any inappropriate
                          activities (such as fraudulent, illegal, unethical or discriminatory
                          actions) of other employees.
                          Obtain approval from supervisor prior to accepting, initiating, or
                          continuing outside employment.
                          Obtain approval from supervisor prior to working overtime, if
                          non-exempt from the Fair Labor Standards Act (FLSA).
                          Work cooperatively to achieve work unit and agency goals and
                          objectives.
                          Conduct themselves at all times in a manner that supports the
                          mission of their agency and the performance of their duties.


Expectations for       Supervisors and managers are expected to serve as role models
Supervisors and        through their compliance with policies, agency protocols and best
Managers               practices in leading and communicating with their subordinate
                       employees. Expectations for supervisors, and managers include
                       but are not limited to:

                          Demonstrate interpersonal communications, leadership
                          strategies and personal conduct that fosters a respectful
                          workplace culture and models the expectations established for
                          employees;
                          Provide consistent and objective feedback, coaching and
                          instructional guidance to employees regarding their
                          performance, conduct or compliance with policies and
                          procedures prior to initiating corrective or formal actions;
                          Document verbal counseling and retain corrective written
                          counseling in confidential supervisory files;
                          Ensure the confidentiality of employee performance and
                          disciplinary actions and related documentation.
                          Establish on-boarding and periodic communications with
                          subordinates to inform them of policies, protocols, and
                          expectations specific to job duties;
                          Seek guidance from Human Resources prior to administering
                          disciplinary actions or removing employees from the
                          workplace. This includes the responsibility to communicate
                          any job-related criminal charges and convictions to Human

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  General Provisions                               Application
                        Resources;
                        Under the guidance of Human Resources, participate
                        collaboratively in pre-disciplinary investigations or disciplinary
                        reviews to include identifying or disclosing relevant
                        documentation and witnesses or parties to the incident(s) of
                        concern;
                        Participate in periodic training/education on the Standards of
                        Conduct policy and best practices.




                              Corrective Actions

  General Provisions                              Application
Counseling              Counseling is provided by a supervisor or manager in the
                        employee’s reporting structure and is typically the first level of
                        corrective action but is not a required precursor to the issuance
                        of Written Notices. Counseling may be verbal or written
                        communication which conveys that an employee’s conduct or
                        performance was improper and must be corrected.
                        Counseling is appropriate for conduct and/or performance
                        issues resulting in minimal impact to business operations or
                        that involve minor infractions of policies or laws.
                        Documentation regarding counseling should be retained in the
                        supervisor's files, and not in the employee's official personnel
                        file maintained by the Agency’s Human Resources office,
                        except as necessary to support subsequent formal disciplinary
                        action or a Below Contributor performance rating as part of the
                        annual performance review. A copy must be provided to the
                        employee.
                        Legal counsel shall not attend counseling sessions.

Verbal Counseling       Verbal counseling should consist of private, confidential
                        discussions between employees and their supervisors
                        regarding the desired course of action to improve the
                        employees' performance and/or conduct, and what may occur
                        if the performance or conduct is not corrected.
                        The supervisor should explain that a summary of the
                        conversation will be noted and placed in the supervisory file.


Written Counseling      A written memorandum or Notice of Improvement
                        Needed/Substandard Performance form should be issued to
                        emphasize the significance of relatively minor acts of
                                                                                      Page 6
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  General Provisions                                    Application
                               misconduct or unacceptable performance when facts and
                               discussions with the employee demonstrate that verbal
                               counseling has not corrected the problem. It may also be
                               issued as the initial means to address first instances of
                               misconduct or unsatisfactory performance.
                               Written counseling must be documented by a letter,
                               memorandum, electronic communication or Notice of
                               Improvement Needed/Substandard Performance form. It
                               should not be documented via the Written Notice form.




                                     Disciplinary Actions

Formal Written Notices         When counseling has failed to correct misconduct or
                               performance problems, or when an employee commits a more
Refer to Attachment A:         serious offense, management should address the matter by
Examples of Offenses           issuing a Written Notice.
Grouped by Level for           A Written Notice may be accompanied by additional actions
additional information.        including suspension; a demotion or transfer with reduced
                               responsibilities with a disciplinary salary action; a transfer to an
                               equivalent position in a different work area; or termination.
Refer to the Disciplinary      Management should issue Written Notices as promptly as
Meeting Reference              feasible upon becoming aware of misconduct or unacceptable
Guide for additional           performance. (Refer to the Due Process section of this policy).
information.                   The Written Notice Form must include an advisory statement
                               that an active Written Notice may affect the employee’s overall
                               annual performance evaluation rating.

                            To assist management in the assessment of the appropriate
                            action, offenses are organized into three groups (Group I, Group II,
                            and Group III) according to the severity of the misconduct or
                            behavior.

                               Examples of offenses, by group, are presented in Attachment
                               A – Examples of Offenses Grouped by Level.
                               The offenses listed in Attachment A are not all-inclusive, but
                               are intended as examples of conduct for which specific
                               corrective or disciplinary actions may be warranted.
                               Agencies may address multiple offenses through the issuance
                               of one or more Written Notices.
                               Accordingly, any offense not specifically enumerated, that in
                               the judgment of agency heads or their designees undermines
                               the effectiveness of agencies' activities, may be considered
                               unacceptable and treated in a manner consistent with the
                               provisions of this section.


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                        An employee’s legal counsel may not attend or participate in
                        internal discussions or investigative meetings to determine the
                        facts or if violations have occurred.

                     NOTE: Under certain circumstances, an offense typically
                     associated with one offense category may be elevated to a higher-
                     level offense. Agencies may consider any unique impact that a
                     particular offense has on the agency and the fact that the potential
                     consequences of the performance or misconduct substantially
                     exceed agency norms.

Group I Offense             Offenses in this category include acts of minor misconduct
                            that require formal disciplinary action. This level is
                            appropriate for repeated acts of minor misconduct or for
                            first offenses that have a relatively minor impact on
                            business operations but still require formal intervention.
                            See attachment A for examples of Group I Offenses and
                            the effects on accumulation or repeat offenses.


                        Two years from the date of issuance to the employee.


                        No suspension for a first offense, but a third active Group I
                        Notice may result in a suspension of up to ten workdays (or a
                        maximum of 80 hours for non-exempt employees). Refer to
                        the Disciplinary Suspension section of this policy for guidance
                        on the suspension of exempt employees.

Group II Offense     Offenses in this category include acts of misconduct of a more
                     serious and/or repeat nature that require formal disciplinary action.
                     This level is appropriate for offenses that seriously impact
                     business operations and/or constitute neglect of duty involving
                     major consequences, insubordinate behaviors and abuse of state
                     resources, violations of policies, procedures, or laws. See
                     attachment A for examples of Group II Offenses and the effect on
                     accumulation.


                        Three years from the date of issuance to the employee.


                        Suspension of up to 10 workdays (or maximum of 80 hours for
                        non-exempt employees) for the first Group II Offense. Refer to
                        the Disciplinary Suspension section of this policy for guidance
                        on suspensions for exempt employees.

Group III Offense    Offenses in this category include acts of misconduct of such a
                     severe nature that a first occurrence normally should warrant
                     termination. This level is appropriate for offenses that, for
                     example, endanger others in the workplace, constitute illegal or
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                         unethical conduct; indicate significant neglect of duty; result in
                         disruption of the workplace; or other serious violations of policies,
                         procedures, or laws. See attachment A for examples of Group III
                         Offenses.


                            Four years from the date of issuance to the employee.


                            Suspension of up to 30 workdays (or maximum of 240 hours
                            for non-exempt employees). Refer to the Disciplinary
                            Suspension section of this policy for guidance on suspensions
                            for exempt employees.


                            One Group III Offense normally should result in termination
                            unless there are mitigating circumstances.
                            Mitigating circumstances for a Group III offense may support,
                            as an alternative to termination, an employee's demotion or
                            transfer to a position with reduced responsibilities or removal of
                            responsibilities and a disciplinary salary action with a minimum
                            5% reduction in salary; transfer to an equivalent position in a
                            different work area; and/or suspension of up to 30 workdays.
                            An employee who is issued a Written Notice that would
                            normally warrant termination but who is not terminated due to
                            mitigating circumstances should be notified that any
                            subsequent Written Notice for any level offense during the
                            active life of the Written Notice may result in termination.
                            If an agency permits an employee to resign in lieu of
                            termination, this transaction should be recorded in the human
                            resource system of record as a resignation in lieu of
                            termination.

Active Life of Written   The active life of Written Notices as stated above are definite and
Notices                  may not be extended due to an employee’s absence. Notices
                         expire when an employee voluntarily or involuntarily separates
                         provided that re-employment with the same or different agency
                         occurs after a formal break in service and a new probationary
                         period is required.

Mitigating                  Agencies may reduce the level of a disciplinary action if there
Circumstances and           are mitigating circumstances, such as conditions that compel a
Aggravating Factors         reduction to promote the interests of consistency, equity and
                            objectivity, or based on an employee's otherwise satisfactory
                            work performance.
                            Aggravating Factors may support a higher-level offense when
                            the facts and circumstances associated with the employee’s
                            actions negatively impact the employee’s credibility as a
                            supervisor/manager of subordinates, reveals a serious
                            disregard for the safety and well-being of self or others, or
                            damages the credibility and reputation of the agency. Repeat
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                             infractions of the same or significantly similar offense may also
                             be considered an aggravating factor.



                              Notice of Intent (Due Process)

   General Provision                                    Application
Advance Notice of                 Prior to the issuance of Written Notices, employees must
Potential Discipline to           be given oral or written notification of the offense, an
Employees                         explanation of the agency's evidence in support of the
                                  charge, and a reasonable opportunity to respond.

Employee’s “Reasonable            Employees must be given a reasonable opportunity to
Opportunity to Respond”           respond after receiving notification of potential disciplinary
                                  actions. Typically, a 24-hour period is a sufficient period
                                  of time, however, a “reasonable opportunity to respond”
                                  should not be based solely on the quantity of time
                                  provided but also on the nature of the offense, the time
                                  period over which alleged events occurred, and the
                                  volume of evidence that may be presented. Based on this
                                  assessment more or less time may be granted to refute
                                  the allegations.
                                  The employee’s response may be written or provided to
                                  management during a virtual, telephonic or face to face
                                  meeting.
                                  Legal counsel may not attend or participate in the
                                  agency’s internal due process meetings. Agency staff in
                                  attendance may include the appropriate supervisor or
                                  manager within the employee’s reporting structure. A
                                  representative of Human Resources may also attend.
                                  An employee on paid or unpaid leave may receive a notice
                                  of intent and the agency may proceed with the expectation
                                  for the employee to respond. However, agencies are
                                  encouraged to be mindful of the employee’s current
                                  circumstances and availability to respond.

Human Resource             Prior to the issuance of any Written Notices, demotions, transfers
Director’s review of       with disciplinary salary actions, suspensions or terminations,
disciplinary actions       Agency Human Resource Directors or their designees must
                           review the documentation for the recommended actions to
Refer to the Due Process   determine:
Reference Guide for            If the action is appropriate for the offense and if the
additional information.        documentation supports the selected level of action;
                               If a referral to the employee assistance program is advisable;

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   General Provision                                 Application
                           If there is evidence that warrants mitigation of the disciplinary
                           actions, and
                           What the final recommendation for corrective action should be
                           to ensure consistency, equity and objectivity.




  General Provisions                                Application
Removal from the       Contingent upon the circumstances, management may
Workplace              immediately remove an employee from the workplace or instruct
                       the employee to cease performing work or representing the
                       agency in business matters when the employee’s continued
                       presence:
                              May be harmful to the employee, other employees, clients,
                              and/or patients/residents;
                              Hinders the agency’s ability to conduct business
                              operations;
                              May hamper or interfere with an internal agency disciplinary
                              review or pre-disciplinary investigation regarding the
                              employee’s alleged misconduct;
                              May hamper or interfere with an external investigation
                              conducted by law enforcement for alleged criminal charges
                              that are relevant to the employee’s performance of
                              assigned job duties; and/or
                              May constitute negligence in regards to the agency’s duties
                              to the public and/or other employees.

                       Following the employee's removal from the work area for reasons
                       stated above, management must provide a notice of intent of
                       potential disciplinary action as promptly as feasible.

                       Written notification of pre-disciplinary leave with pay pending a
                       disciplinary review or agency pre-disciplinary investigation shall be
                       by memorandum, not communicated via the Written Notice form.

                       Contingent with the circumstances and in consultation with Human
                       Resources, agency management may temporarily reassign an
                       employee to a vacant position in the same pay band, temporarily
                       remove and reassign job duties at the same pay level, or permit
                       the employee to telework as appropriate.




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   General Provisions                                    Application
                           Provide the employee specific instructions in writing prohibiting
                           potential interference with the ongoing investigation to include
                           refraining from discussing the matter with other employees. Such
                           discussions shall be limited to Human Resources or the
                           employee’s supervisor or managers within their reporting structure.

Removal for Disciplinary   Employees may be placed on paid pre-disciplinary leave for up to
Reviews or Pre-            fifteen workdays (maximum of 120 hours for non-exempt
disciplinary               employees).
Investigations
                           If the disciplinary review or pre-disciplinary investigation is not
                           completed within fifteen workdays or 120 hours the agency must:
                                Impose disciplinary action in accordance with this policy;
                                Permit the employee to return to work to include remote work
                                or a temporary reassignment pending the outcome of the
                                review or investigation; or
                                Extend pre-disciplinary leave with pay for a specified period of
                                time as determined by the agency head; and
                                Advise the employee of the action in writing.

Removal from the           Management may also immediately remove an employee from the
Workplace for Criminal     workplace without providing advance notification when the
Charges                    employee is under investigation for alleged criminal conduct that is
                           impactful to the employee’s performance of job duties or to the
                           agency’s critical mission activities. Contingent with the
                           circumstances of the criminal charges, reassignment may occur if
                           the agency can identify a placement that does not jeopardize the
                           investigation or create liability for the Commonwealth.



                              Any employee who is formally charged with a criminal offense
                              that impacts their ability to do their job or represents a risk to
                              the agency and to the agency’s mission shall be immediately
                              suspended without pay for a period not to exceed ninety
                              calendar days or temporarily reassigned to a position that is
                              not impacted by the criminal charges.
                              Agencies have the option to allow employees to charge
                              accrued annual leave to this period of suspension provided that
                              the employee has sufficient leave balances.
                              If, at the conclusion of the ninety-day period of suspension
                              without pay there has been no resolution of the criminal
                              charge, the employee will be placed on or returned to pre-
                              disciplinary leave with pay until the charge has been resolved.


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   General Provisions                                   Application
                             If the criminal investigation is concluded without a formal
                             indictment, or if the charge is resolved without the employee
                             being convicted, the employer shall return the employee to
                             active status.
                             Any accrued annual leave applied to the period of suspension
                             without pay for pending criminal charges shall be reinstated
                             provided the leave was not carried over into the new Leave
                             Year on January 10th. This includes the reinstatement of
                             missed annual leave accruals.
                             Regardless of the status of any criminal investigation, process,
                             or outcome, the agency may determine at any time to notify the
                             employee of disciplinary charges and administer formal
                             disciplinary actions up to and including termination, based
                             upon the facts or evidence of conduct that prompted the
                             criminal investigation or process.
                             See the Policy Guidance document Impact of Suspension on
                             Pay and Benefits

Impact of Felony          In accordance with § 51.1-124.13, when an employee is convicted
Convictions for           of a felony for misconduct associated with the performance of job
Misconduct Associated     duties, a forfeiture of all VRS-related benefits will occur.
with Performance of Job
Duties                           Prior to making such a determination, the agency must
                                 provide the employee with a written notice and provide a
                                 reasonable opportunity for the employee to be heard during
                                 the agency’s review process. The employee’s response
                                 may be written or heard orally via a virtual or in person
                                 meeting.
                                 Upon consideration of the employee’s response and the
                                 relevant criteria associated with the felony, the agency shall
                                 notify the employee in writing of a determination which shall
                                 also include the employee’s option to appeal.
                                 Within five calendar days of the receipt of the
                                 determination, the employee may submit a written appeal
                                 of the agency’s determination sent to the Agency Head or
                                 designee.
                                 Within five working days of receiving an employee’s appeal
                                 of the determination, the agency shall transmit a copy of
                                 the record to the clerk of the circuit court in the jurisdiction
                                 where the employer is located.
                                 If a timely appeal is not filed by the employee, the Agency’s
                                 determination becomes final ten calendar days after the
                                 agency’s determination.

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   General Provisions                                  Application
                                Within thirty days of the receipt of the record, the court shall
                                hear the appeal and evidence that is necessary to resolve
                                any controversy as to the correctness of the record and at
                                its discretion, may hear other relevant evidence. The circuit
                                court hearing shall be at no cost to the Agency or the
                                employee per § 51.1-124.13.
                                The court may affirm, reverse or modify the Agency’s
                                determination. The decision of the court shall be rendered
                                within fifteen days from the date of the hearing’s
                                conclusion. The court’s decision shall be considered final
                                and is not subject to appeal.
                        Upon a final determination that the felony conviction is associated
                        with the employee’s job, Human Resources must submit a
                        completed VRS-180 (Employer Request for Forfeiture of Member
                        Benefits) to the VRS. The VRS-180 provides detailed descriptions
                        of the forfeiture and appeals processes as well as which VRS
                        benefits are affected by the request.

                        Direct the employee to the Virginia Retirement System (VRS) to
                        determine their eligibility for a full or partial refund of employee
                        contributions and interest based on vesting requirements for
                        refunds as established by the VRS policies.



                               Disciplinary Suspension

   General Provisions                                Application
Disciplinary               All disciplinary suspensions represent a Leave without Pay or
Suspensions                pay docking transaction.
                           Employees on suspension normally shall not be allowed on the
                           agency's premises, nor shall they be allowed to work except to
                           fulfill previously scheduled court obligations or to file and
                           process a grievance or Equal Employment Opportunity
                           complaint.
                           The maximum periods of suspensions are described in
                           Attachment A – Examples of Offenses Grouped by Level.

Suspension of                    employees’ salaries may not be reduced as the result of a
Employees               suspension except as described in this section. Exempt
from the Fair Labor     employees should be reimbursed promptly for any disciplinary
Standards Act           salary reductions that are non-compliant.

                        NOTE: Although probationary employees are not covered by this
                        policy, the FLSA rules for suspension are applicable.


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  General Provisions                            Application

                        Disciplinary suspension of an exempt employee for an
                        infraction of a safety rule of major significance may be applied
                        for less than a full workday or workweek.
                        Safety rules of major significance are defined as provisions
                        intended to prevent serious danger to the workplace or to other
                        employees.


                        If an exempt employee is suspended for misconduct, the
                        suspension shall not be less than a full workday.
                        Suspensions of more than one workday must be in multiples of
                        full workdays, e.g., a three-day (24 hour) suspension for an
                        employee assigned to 8-hour workdays, or a three-day (30
                        hour) suspension for an employee assigned to 10-hour
                        workdays.
                        If it becomes necessary to remove an exempt employee from
                        the workplace for a partial workday due to the employee’s
                        misconduct, the employee must be paid for that partial day’s
                        absence.



                        If an exempt employee is suspended for disciplinary reasons
                        related to the employee’s unsatisfactory attendance or
                        performance issues (non-conduct related) the suspension shall
                        not be less than a full workweek.
                        Suspensions of more than one workweek will be in multiples of
                        full workweeks, e.g., a three-week (120-hour) suspension. An
                        employee may not be permitted to serve a suspension related
                        to attendance or performance other than in whole workweek
                        segments.
                        Less serious violations in these areas should be addressed by
                        other means of discipline, reserving suspension for the most
                        serious or repeated violations.


                        If an exempt employee is suspended pending the outcome of a
                        criminal investigation, the employee must be paid for any
                        partial work week suspensions.
                        Full workweeks of suspension are unpaid. See the Policy
                        Guidance document Impact of Suspension on Pay and
                        Benefits



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 Removal Due to Circumstances which Prevent Employees from Performing their Jobs

   General Provisions                                Application
Inability to meet working   An employee unable to meet the working conditions of their
conditions                  employment due to circumstances such as those listed below
                            may be removed under this section. Reasons include but are not
                            limited to:

                               Loss, suspension or restrictions of driver's license that is
                               required for performance of the job;
                               Incarceration for any period that is disruptive to agency
                               business operations;
                               Failure to obtain or retain license, certification, or other
                               credentialing required for the job;
                               Inability to perform the essential functions of the job after
                               reasonable accommodation (if required) has been discussed,
                               applied and alternative accommodations will result in undue
                               hardship;
                               Failure to successfully pass an agency’s background
                               investigation;
                               Conviction of a misdemeanor crime of domestic violence for
                               employees whose jobs require: a) carrying a firearm; or b)
                               authorization to carry a firearm; or
                               Conviction of barrier crimes that impact the employee’s ability
                               to perform assigned job duties;
                               Failure to timely present appropriate documentation of identity
                               and eligibility to work in the U.S. as required by federal law to
                               include expiration of prior visa.

                            Prior to such removal, the appointing authority and/or Human
                            Resource Office shall gather full documentation supporting such
                            action and issue a notice of intent to the employee, verbally or in
                            writing, of the reasons for such a removal, giving the employee a
                            reasonable opportunity to respond.

                            Final notification of removal should be via memorandum or letter,
                            not by a Written Notice form.

                            Employees may challenge removals through the Employee
                            Grievance Procedure, and may direct questions regarding this
                            procedure to the DHRM Office of Employment Dispute
                            Resolution.

                            Agencies may, based on mitigating circumstances, demote or
                            transfer and reduce the employee’s duties with a minimum 5%
                            reduction in salary, or transfer them to an equivalent position
                                                                                         Page 16
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    General Provisions                                Application
                         without a reduction in salary as an alternative to termination
                         based upon availability of funded positions and agency business
                         need.

Terminations             Refer to Policy 1.70, Termination/Separation from State Service
                         for additional information on the disposition of leave and other
.                        benefits upon separation from state service.
                         Refer to the Terminations Reference Guide for additional
                         information


                             Use of Grievance Procedure

   General Provisions                                 Application
Classified Non-          Classified, non-probationary employees may challenge corrective
Probationary Employees   or disciplinary actions through the Employee Grievance
                         Procedure, and may direct questions regarding this procedure to
                         the Department of Human Resource Management’s Office of
                         Employment Dispute Resolution.

Hearing Officer's        A hearing officer may uphold, reduce or rescind corrective or
Authority                disciplinary actions taken by an agency so long as the officer’s
                         decision is consistent with written policy. See the Grievance
                         Procedure Manual for a full understanding of Hearing Officer’s
                         Authority.



                         When a hearing officer orders an employee's reinstatement from
                         suspension or termination the hearing officer may order:

                            Full, partial, or no back pay;
                            A reduction in the employee's disciplinary record such that
                            termination no longer could take place (e.g., the employee has
                            only three Group I Written Notices or one Group II Written
                            Notice); or the officer must reinstate the employee with full
                            back pay minus an appropriate disciplinary suspension;
                            Adjustments to accrued leave; or
                            Reimbursements for health insurance premiums.
                            For additional details, see the Policy Guidance document
                            Impact of Suspension on Pay and Benefits




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                                   Records Management

   General Provisions                                    Application
Disciplinary Records       Agencies must update payroll and/or the human resources
                           information system records as promptly as feasible upon issuance
                           of a Written Notice, upon placing employees on pre-disciplinary
                           leave or disciplinary suspension, and upon subsequent demotions
                           or transfers with disciplinary salary actions, terminations, or
                           reinstatements or reduction of the disciplinary action. See the
                           DHRM Policy Guide – Managing Corrective and Disciplinary
                           Records.




Pre-disciplinary Leave   Pre-disciplinary Leave is leave with pay which is applicable when
                         disciplinary action is being considered and the employee’s removal
                         from the workplace is necessary or prudent to allow for the
                         completion of a disciplinary review or pre-disciplinary investigation.

Corrective Action        Any intervening verbal or written counseling action taken by a
                         supervisor or manager to address employment problems, such as
                         unacceptable performance, behavior, or conduct.

Counseling               Counseling may be a verbal or written intervention that consists of a
                         dialogue between an employee and their supervisor to address and
                         reinforce expectations of an employee's work performance,
                         behavior, and/or conduct. Written counseling discussions must be
                         documented in a written memorandum or the use of the Notice of
                         Improvement Needed/Substandard Performance form. Counseling
                         that is related to work performance may be included in an interim
                         performance evaluation as described in Policy 1.40, Performance
                         Planning and Evaluation.

Criminal Charge          An arrest or indictment by law enforcement authorities against an
                         employee for the commission of a criminal offense.

Criminal Offense         Criminal Offenses include felonies and misdemeanors as defined in
                         the statutes of the United States, the Commonwealth of Virginia,
                         other sovereign states, and other city and county governments.
                         Criminal offenses shall not include traffic or other charges that are
                         specifically differentiated and exempted from statutory criminal
                         offenses. However, DUI or other formal charges that impact an
                         employee's ability to drive a vehicle or could result in incarceration if
                         convicted shall be considered criminal charges.

Disciplinary Action      A formal action taken in response to unacceptable performance or
                         misconduct. Disciplinary actions include the issuance of Written
                         Notices; suspensions; demotions; transfers; disciplinary salary
                         actions; and terminations.

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Disciplinary Demotion   Management initiated assignment of an employee to the same or a
                        different position in the same or lower Pay Band/Grade with
                        reduced job responsibilities that must result in a minimum of a 5%
                        reduction in base salary. In no case may an employee’s salary
                        exceed the maximum of the pay band following a disciplinary salary
                        action.

Disciplinary Review     A process that involves reviewing the facts and circumstances
                        surrounding misconduct or unacceptable performance in order to
                        determine if disciplinary action is warranted.

Disciplinary Salary     Employees may be retained in their current positions and have their
Action                  duties reduced, be demoted, or transferred to positions in the same
                        or lower pay band with reduced job responsibilities in lieu of
                        termination. The employee’s salary in each case must be reduced
                        by at least 5%. In no case may an employee’s salary exceed the
                        maximum of the pay band following a disciplinary salary action.
                        Agencies have the authority to transfer employees to equivalent
                        positions as part of the disciplinary process without a reduction in
                        salary.

Employee Assistance     A confidential assessment, referral, and short-term problem-solving
Program (EAP)           service available to eligible employees and family members.
                        Enrollment in the EAP is automatic as part of the health plan
                        coverage.

Formal Break in         For the purpose of this policy, a break of at least thirty days from
Service                 the date of separation. Periods of leave with or without pay do not
                        count toward satisfying this break in service.

Interim Evaluation      A performance evaluation completed during the performance cycle
                        to document and assess an employee’s progress toward achieving
                        the performance plan. Interim Performance Evaluations are not
                        considered “official” documents and are retained in the supervisor’s
                        confidential file for use in constructing the annual performance
                        evaluation. Counseling, particularly when related to work
                        performance, may be part of an interim evaluation. Prior to any pre-
                        disciplinary or disciplinary actions employees must be given oral or
                        written notification of an offense, an explanation of the agency's
                        evidence in support of the charge, and a reasonable opportunity to
                        respond. Agencies must provide a clear and descriptive
                        explanation of the offense in a manner that ensures that the
                        employee understands the facts presented and will be able to
                        present mitigating factors or denial of the charge.

Notice of Intent        Prior to any pre-disciplinary or disciplinary actions, employees must
                        be given oral or written notification of an offense, an explanation of
                        the agency's evidence in support of the charge, and a reasonable
                        opportunity to respond. Agencies must provide a clear and
                        descriptive explanation of the offense in a manner that ensures that

                                                                                        Page 19
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                         the employee understands the facts presented and will be able to
                         present mitigating factors or denial of the allegations.

Notice of Improvement    A form completed by the immediate supervisor during the
Needed/Substandard       performance cycle to document substandard performance and the
Performance Form         need to improve performance. This document may be issued as
                         written counseling or may also result in issuance of a formal Written
                         Notice. This form must include an improvement plan, which
                         includes an improvement period of no less than 30 days or more
                         than 180 days. See Policy 1.40, Performance Planning and
                         Evaluation.

Progressive Discipline   A system of increasingly significant measures that are utilized to
                         provide feedback to employees so that they can correct conduct or
                         performance problems. It is most successful when provided in a
                         way that helps an employee become a fully contributing member of
                         the organization. Progressive discipline also enables agencies to
                         objectively, and with reliable documentation, terminate an employee
                         who is unable or unwilling to improve their workplace conduct
                         and/or job performance. There may be extenuating circumstances
                         when an employee’s conduct requires disciplinary action
                         administered without employing progressive discipline.

Reasonable               Employees must be given a reasonable opportunity to respond after
Opportunity to           receiving notification of an impending pre-disciplinary or disciplinary
Respond                  action.

Standards of Conduct     Positive expectations for work performance, conduct, and behavior.
                         See Sections: Expectations for Employees and Expectations for
                         Supervisors/Managers.

Suspension               An employee's absence from work, without pay, that an agency
                         imposes as a part of a disciplinary action.

Unacceptable             Employee conduct or behavior that is inconsistent with state or
Conduct/Misconduct       agency standards for which specific corrective or disciplinary action
                         is warranted.

Workday                  For purposes of suspensions without pay, workday is defined as 8
                         hours for non-exempt employees. For exempt employees, a
                         workday consists of the hours scheduled to work on a normal day.

Workweek                 A fixed period of seven consecutive 24-hour periods which is
                         established by the employer for each employee. It may begin on
                         any day of the week and at any hour of the day; it need not coincide
                         with the calendar week. Full-time employees normally work a five-
                         day, 40-hour schedule during a workweek.




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      Credle, JoAnn O.
     Wednesday, July 13, 2022 9:51 AM
    Mucci, Diane M. <dmucci@nvcc.edu>
        anxiety attack

I saw that you were free from the contact list, walked to you office and your administrator told me you
were on zoom. I was walking in the hallway and saw you talking to the administrator. I saw you and felt
like you did not want to talk to me and that is when the attack started.

I was unable to put my leave in- I have a new computer with Window 11 and some applications are not
showing up.


When I come back, I will find a computer on campus and complete the leave , so I will not get in trouble.
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      Credle, JoAnn O.
     Wednesday, July 13, 2022 3:26 PM
    Mucci, Diane M. <dmucci@nvcc.edu>
        RE: ADA Contact and EAP Information

Thank you- I will forward to my lawyer.

      Mucci, Diane M. <dmucci@nvcc.edu>
      Wednesday, July 13, 2022 1:53 PM
    Credle, JoAnn O. <jcredle@nvcc.edu>
         ADA Contact and EAP Information

Hello JoAnn,

I requested information from HR to send to you about accommodations and the
employee assistance program.

Medical accommodations can be requested through the ADA office. The contact
is ADA@NVCC.EDU

NOVA’s EAP information is below and attached:

NOVA Cares’ website has list of resources
(http://www.nvcc.edu/novacares/resources.html).

        NOVA Benefits: benefits@nvcc.edu
        EAP: See
          attached; http://www.dhrm.virginia.gov/employeeprograms/employeeassistanc
          e
        Mental Health Provide Database: http://nvcc.rints.com/
        National Suicide Prevention Lifeline:
          1.800.273.8255; http://www.suicidepreventionlifeline.org/
        Virginia Veteran Services: 804.786.0286; https://www.dvs.virginia.gov/virginia-
          veteran-and-family-support-2/
        Community Service Board: Community Services Board - Prince
          William/Manassas: 703.792.7800 (Manassas) or 703.792.4900
          (Woodbridge); Community Services Board - Fairfax/Falls Church:
          703.573.5679 (emergency) or 703.383.8500


Please take care, we can talk or you may want to set an appointment with HR directly
tomorrow.

Diane

Diane Mucci, Ph.D.
Provost, Annandale Campus
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CFH 202
8333 Little River Turnpike, Annandale, VA, 22003
703-503-6383/ dmucci@nvcc.edu / nvcc.edu




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From: Mucci, Diane M. <dmucci@nvcc.edu>
Sent: Wednesday, July 20, 2022 11:13 AM
To: Credle, JoAnn O. <jcredle@nvcc.edu>
Subject: Updates with new information

Hello JoAnn,

There are a few items I need to discuss with you. We can discuss them this week or next.


         We need to complete your annual evaluation and to do so, I need a self-assessment, even if it’s just a list of activities and
         projects that you have worked on over the past evaluation cycle, July 1, 2021 – June 30, 2022. I need the assessment from
         you by COB Friday July 22. Once I have that, we can set up a time to discuss the evaluation next week. If you still wish to
         have an representative from HR present, I will arrange it at a time when a representative from employee relations is
         available. HR’s role is to act a neutral party and explain any questions related to policy or procedure.




         I have asked Kelly to enter the SDV course for the FFX county cohort for Friday mornings at 8am. You will need to teach this
         course, I have reviewed your EWP and it states that you should be teaching 2 sections of SDV each semester and one each
         summer. This will be a very good way to interface with those students and assist them in a very deliberate and thoughtful
         way.




         As our AN campus business needs are changing, starting Monday, August 8 th it is my expectation that you work a normal 5
         day work week, 8am to 4:30pm. This will enable you to teach the SDV course and be available to the students.




         Barbara Hopkins will be meeting with the Arlington Sheriff’s office this week by herself. She will bring the information back
         to you and then, in collaboration with her, you can move forward in the creation of a plan to meet their course needs.


Sincerely,
Diane

Diane Mucci, Ph.D.
Provost, Annandale Campus
CFH 202
8333 Little River Turnpike, Annandale, VA, 22003
703-503-6383/ dmucci@nvcc.edu / nvcc.edu


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 From: Kress, Anne <akress@nvcc.edu>
 Sent: Thursday, July 21, 2022 9:45 AM
 To: Credle, JoAnn O. <jcredle@nvcc.edu>; Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>; Currie, Tammy H. <tcurrie@nvcc.edu>;
 Mucci, Diane M. <dmucci@nvcc.edu>
 Subject: Re: meeting

 Dear Joann,

 I cannot speak to what Barbara Hopkins might have said to you, but as you know from our previous discussions, neither I nor my
 office defines the scope of responsibilities assigned you by your direct supervisor, Provost Mucci.

 I encourage you to speak with the Provost regarding any questions related to your job description and assigned duties. I have copied
 her so that she is aware of your concerns.

 Sincerely,

 Anne


 Anne M. Kress, PhD
 President
 she/her/hers

 Brault Building
 4001 Wakefield Chapel Road
 Annandale, VA 22003
 Office: 703.323.3101
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 From: Credle, JoAnn O. <jcredle@nvcc.edu>
 Date: Thursday, July 21, 2022 at 9:37 AM
 To: Calobrisi, Charlotte M. <ccalobrisi@nvcc.edu>, Currie, Tammy H. <tcurrie@nvcc.edu>
 Cc: Kress, Anne <akress@nvcc.edu>
 Subject: meeting
 Do you have any time today? I was told by Barbara Hopkins that Mucci told her the President do not want me to go out and set up
 programs. This was not in the my letter that was issued to me when I was allowed to come back to work. So it seem that if I can set
 up programs, I am useless.
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                                                                                                                                   Form 105–194
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    Does the condition substantially limit a major life activity?
                                                                                                                                     yes
 If yes, what activity(ies)? (Examples of major life activities include, but are not limited to: speaking, hearing, seeing, breathing, walking,
 standing, sitting, sleeping, reaching, learning, concentrating, thinking, caring for oneself, interacting with others and performing manual
 tasks.)




 The condition significantly impairs concentration, interacting with others, lecturing, thinking, and
 sleeping.



    Does the condition substantially limit a major bodily function?
                                                                                                                                     yes

 If yes, what function? (Examples of major bodily functions include, but are not limited to: circulatory, endocrine, reproduction, hemic,
 special sense organs and skin, lymphatic, immune, normal cell growth, digestive, neurological, brain, respiratory, bowel, bladder,
 genitourinary, musculoskeletal and cardiovascular.)


 The level of intensity of the panic attacks impairs breathing.



    Describe how this condition limits the employee’s ability to perform the essential functions
 of the job. Using the Employee Work Profile (job description) or Faculty Work Plan (job description), identify the essential functions
 affected and how the medical condition impairs the employee in each instance.


 Teaching: fear of panic attacks impairs delivery of oral content, concentration, and interactions with
 others.



   What accommodation(s), if any, do you believe will enable the employee to perform the essential job
 functions, and how long do you believe the accommodation will be necessary?


 Dr. Credle needs to avoid classroom instructing until the condition is under control, this would foster
 recovery. She would also benefit from a change of work environment
    until the panic attacks have subsided. A gradual return to the environment is recommended. Triggers in the present work
location exacerbates the condition.


    Please include any additional documentation to support the request for accommodation.


 Diagnostic assessment is attached and primary care physician’s review.




 Please return this form to the employee.
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